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                    EXHIBIT J
" EPA Flowchart for ‘Equity-
     Related’ Grants"
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Keywords

activism                      genders                            social justice
activists                     hate speech                        sociocultural
advocacy                                                         socioeconomic
advocate                      excluded                           status
advocates                     female                             stereotypes
barrier                       females                            systemic
barriers                      fostering inclusivity              trauma
biased                        gender                             under appreciated
biased toward                 gender diversity                   under represented
biases                        genders                            under served
biases towards                hate speech                        underrepresentation
bipoc                         hispanic minority                  underrepresented
black and latinx              historically                       underserved
community diversity                                              undervalued
community equity              implicit bias                      victim
cultural differences          implicit biases                    women
cultural heritage             inclusion inclusive                women and
culturally responsive         inclusiveness inclusivity          underrepresented
disabilities                  increase diversity
disability                    increase the diversity
discriminated                 indigenous community
discrimination                inequalities
discriminatory                inequality
diverse backgrounds           inequitable
diverse communities           inequities
diverse community             institutional
diverse group                 Igbt
diverse groups                marginalize
diversified                   marginalized
diversify                     minorities
diversifying                  minority
diversity and inclusion       multicultural
diversity equity              polarization
enhance the diversity         political
enhancing diversity           prejudice
equal opportunity             privileges
equality                      promoting diversity
equitable                     race and ethnicity
equity                        racial
ethnicity                     racial diversity
excluded                      racial inequality
female                        racial justice
females                       racially
fostering inclusivity         racism
gender                        sense of belonging
gender diversity              sexual preferences
